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1                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO
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3
       UNITED STATES OF AMERICA,
4
       Plaintiff
5
       v.                                               CRIMINAL 07-0121 (ADC)
6
7      [18] LUCIO FLORES RODRÍGUEZ,

8      Defendant
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10                 MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
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            On March 19, 2007, a grand jury returned an indictment against forty-two
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     people charging them with knowingly and intentionally combining, conspiring and
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     agreeing with each other and others to knowingly and intentionally possess with
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     intent to distribute large quantities of heroin, cocaine, cocaine base and marijuana.
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     The movant is one of those people.
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            This matter is before the court on motion to suppress any and all evidence
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     related to the alleged murders of Reinaldo de León Martínez and Omar J. Díaz
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     Escobar filed by co-defendant Lucio Flores Rodríguez on November 18, 2007.
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     (Docket No. 625).     Overt act 22 of the indictment reads thus: “On or about
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     December 15, 2006, [18] LEX LUCIO FLORES-RODRIGUEZ, aka LUCKY, and others
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     unknown to the Grand Jury, killed Reinaldo de León Martínez and Omar J. Díaz
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     Escobar, in order to gain control and further expand the drug trafficking
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     organization.”   Notwithstanding the failure of the United States to oppose the
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     motion, it is my recommendation that the defendant’s motion be DENIED.
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            According to the information received by the defense through discovery, this
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     defendant and two other men drove through La Puente ward of Guayama in
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     December 2006. He had a .45 pistol and another man named Eliut had a .38
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     revolver. They approached a group of people and began shooting at the group
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     although the person they were looking for was not a part of the group, something
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     the defendant and Eliut did not know. They killed two people at that time. On
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     December 16, 2006, the defendant was part of a line-up but he was not identified
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     and was therefore released.
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           The defense argues that even if the killings did take place, they were not a part
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     of the conspiracy, that is, that the killings were not ordered to gain control and
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     further expand the drug trafficking organization.       The statement in overt act
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     numbered 22 is allegedly false, and not relevant, as well as unfairly prejudicial.
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           The statement in the indictment is clear. The government intends to show
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     that this defendant committed murders in order to gain control and further expand
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     the drug trafficking organization, which would be acts performed in favor of the
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     conspiracy. This is not an uncommon issue to the courts. See, e.g., United States
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     v. Mercado-Irizarry, 404 F.3d 497, 500-02 (1st Cir. 2005); United States v. Soto-
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     Beniquez, 356 F.3d 1, 31-33 (1st Cir. 2004); United States v. Martínez-Medina, 279
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     F.3d 105, 116 (1st Cir. 2002); United States v. Vega Figueroa, 234 F.3d 744, 755 (1st
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     Cir. 2000). The government is placed to the task of showing at trial that the
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     murders were somehow in furtherance of the conspiracy. That the defendant is not
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     charged with murder is not fatal to the government’s intention of presenting
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     evidence of uncharged misconduct, in this case, murder. The evidence is relevant
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     under Rule 401, Federal Rules of Evidence, and is not unfairly prejudicial under
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     Rule 403. Furthermore, such evidence is admissible under Rule 404(b) in the
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     alternative since it presents evidence of plan or intent.
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           Unfortunately, if the evidence comports to the defense theory that any
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     murders were not in furtherance of the conspiracy, then a limiting instruction may
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     be insufficient to cure the error. However, that would remain an issue for the trial
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     judge to resolve, if such is the case. In any event, the United States Attorney is put
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     on notice of the issue.
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           In view of the above, I recommend that the motion to suppress be DENIED.
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           Under the provisions of Rule 72(d), Local Rules, District of Puerto Rico, any
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     party who objects to this report and recommendation must file a written objection
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     thereto with the Clerk of this Court within ten (10) days of the party's receipt of this
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     report and recommendation. The written objections must specifically identify the
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     portion of the recommendation, or report to which objection is made and the basis
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     for such objections. Failure to comply with this rule precludes further appellate
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     review. See Thomas v. Arn, 474 U.S. 140, 155 (1985); Davet v. Maccorone, 973 F.2d
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     22, 30-31 (1st Cir. 1992); Paterson-Leitch Co. v. Mass. Mun. Wholesale Elec. Co., 840
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     F.2d 985 (1st Cir. 1988); Borden v. Sec’y of Health & Human Servs., 836 F.2d 4, 6
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     (1st Cir. 1987); Scott v. Schweiker, 702 F.2d 13, 14 (1st Cir. 1983); United States v.
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     Vega, 678 F.2d 376, 378-79 (1st Cir. 1982); Park Motor Mart, Inc. v. Ford Motor Co.,
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     616 F.2d 603 (1st Cir. 1980).
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           At San Juan, Puerto Rico, this 21st day of December, 2007.
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22                                                     S/ JUSTO ARENAS
                                             Chief United States Magistrate Judge
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